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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


LUMINATI NETWORKS LTD.                §
               Plaintiff,             §
                                              Case No. 2:18-CV-00483-JRG
      v.                              §
                                              FILED UNDER SEAL
BI SCIENCE, INC.,                     §
               Defendant.             §


                  PLAINTIFF LUMINATI NETWORKS LTD.’S
                        MOTION FOR SANCTIONS
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I.     INTRODUCTION

       Having agreed to a mediator’s proposal on February 23, 2020 (“Settlement Agreement”),

and jointly filed a motion to stay the case based on this settlement, Defendant BI Science (2009)

Ltd., also known as BI Science Inc. (“BI Science” or “Defendant”) refused to perform under the

Settlement Agreement, or even acknowledge its validity, and subsequently breached the agreement

by filing countercomplaints                                             —and continues to do so

even today. In addition to being deprived of the benefit of its bargain, Luminati Networks Ltd.

(“Luminati”) has been forced to incur legal fees and expenses related to (a) Luminati’s Motion to

Enforce the Settlement Agreement (Dkt. 170) in this case (“BI Science I”); (b) Luminati’s Motion

to Dismiss BI Science’s Countercomplaint (ECF 19) in Luminati Networks Ltd. v. BI Science

(2009) Ltd., Case No. 2:19-cv-352 (“BI Science II”); (c) Luminati’s Motion to Dismiss BI

Science’s Countercomplaint (ECF 33) in Luminati Networks Ltd. v. BI Science (2009) Ltd., Case

No. 2:19-cv-397 (“BI Science III”); and (d) Luminati’s multiple motions for extensions and

Luminati’s preliminary responses in IPR2020-00166 and IPR2020-00167 (“BI Science IPRs”).

       Following the Court’s finding

                                                                        (Dkt. 183 at 42:12-44:20),

Luminati requested its attorneys’ fees for the above expenses in the arbitration. The arbitrator

confirmed that the February 24, 2020 mediator signed agreement (Ex. A)

                                     However, as the arbitrator determined that the issue of post-

settlement attorneys’ fees is outside the scope of arbitration (Ex. G at 1), Luminati respectfully

requests sanctions against BI Science, including Luminati’s attorneys’ fees incurred in response to

BI Science’s above post-settlement activity and any other relief deemed appropriate by the Court.

Further, given BI Science’s continuing breaches of the agreements and ongoing refusal to comply,

fees continue to mount, and Luminati requests additional fees going forward as well.
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       The



                                                                            . Ex. D at 3. Despite

repeatedly requesting BI Science’s compliance with the Settlement Agreement, BI Science refused



                                      :

       This is a predicament of your own making. Had you shown any good faith
       willingness over the past several weeks to negotiate a comprehensive
       agreement based on the mediator’s proposal, and shown any consideration for,
       among other things, the havoc that the COVID-19 pandemic is having on
       BIScience’s business this likely could have been avoided.

Ex. D at 1. (Emphasis Added) Having made clear that BI Science’s own performance under the

Settlement Agreement was conditioned on Luminati agreeing to changes to that agreement, BI

Science promptly followed up the same day with a second email stating “Given Luminati’s

actions per the below, and more, my client is not willing to assist

               .” Id. at 1 (emphasis added).

       Despite BI Science’s refusal to




          . Yet, even in the face of the Court’s order, and even though BI Science

                                           , it continued to refuse to cooperate in

       until                                                                          .

       D. BI Science Filed A Countercomplaint in BI Science II


       The February 23, 2020 Settlement Agreement includes




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                BI Science filed a countercomplaint in BI Science II on March 27, 2020 that asserted

that Luminati infringed the ’244 Patent,

            . 2 Luminati was forced to file a motion to dismiss this countercomplaint (BI Science

II, ECF 19) on April 17, 2020 asserting BI Science

                          and noting that “this Countercomplaint has no basis in law, couldn’t have

been filed in good faith, and should be subject to dismissal.” BI Science II, ECF 19 at 1, 3-8.

Luminati clearly asserted that any disputes                                          without waiving any

rights to attorney fees. Id. at 6 (“While BI Science’s dispute is clearly meritless,




            )

        E. BI Science Filed a Countercomplaint in BI Science III


        The February 23, 2020 Settlement Agreement includes




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  Notably, BI Science was not required to file anything at all. Luminati informed BI Science it did not need
to answer the complaints                                                     . Ex. H at 1. BI Science thus
decide to spend its time and money—and cause Luminati to spend time and money on motions to dismiss—
when it had no reason to do so.

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 Dkt. 183 at 34:23-35:18.

        G. Despite Clear Guidance from the Court
                        BI Science Continued to Dispute the Clear Language of the Settlement
           Terms and Assert Force Majeure to Excuse Performance.

        At the outset of arbitration on April 17, 2020,

                                                                                         . Ex. J at 1.

 Regardless, during arbitration, BI Science continued to push to change material terms based on its

 rejected force majeure argument. Ex. E at 1




                                                     (emphasis in original).

        In its opening arbitration brief, BI Science also argued that “Luminati’s request for fees or

 costs does not fall within the narrow scope of the arbitration clause here which states that



                                      Ex. F at 9. In the April 28, 2020 Final Arbitration Award,



                                                                                        Ex. G at 1.

        H. Following Issuance of the Arbitrator’s Award BI Science Continues to Obstruct
           Performance.




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                                                                                                As BI

 Science refused, Luminati was forced to file the Award as an opposed motion. Dkt. 185.

                                                                        , which BI Science would not

 agree to, forcing the arbitrator to issue a separate award on the form of the press release.

        The Award set a deadline for the parties to

                                                                            to which BI Science never

 objected, but today BI Science refused to comply with this term of the Award as well, forcing

 Luminati to                                            . Luminati’s counsel learned for the first time

 today that BI Science is planning to file a motion to stay and its counsel will be asking to withdraw

 and requesting to further delay performance owed under the Settlement Agreement to Luminati’s

 ongoing damage and detriment. BI Science, who has professed having no money and no ability

 to continue, plans to spend more money and time on a pointless and baseless appeal without ever

 having objected to the arbitration process over the past weeks since the Court issued its order.

 These games to cause delay should stop immediately and BI Science should be held accountable

 for its ongoing campaign to flout its obligations.

 III.   LEGAL STANDARD

        In confirming an arbitration award, a district court may award attorneys' fees and costs as

 long as such an award does not modify the arbitration decision. Schlobohm v. Pepperidge Farm,

 Inc., 806 F.2d 578, 580-581 (5th Cir. 1986); Radiant Sys. v. Am. Scheduling, Inc., No. 3:04-CV-

 2597-P, 2006 U.S. Dist. LEXIS 63984, at *5-7 (N.D. Tex. Sept. 7, 2006) (Finding that the Court

 has jurisdiction to award fees and costs incurred in the litigation following arbitrator’s ruling that

 he could neither deny nor grant attorneys fees).



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        Federal courts have the inherent power to impose attorneys' fees as a sanction for bad faith

 litigation conduct. Chambers v. NASCO, Inc., 501 U.S. 32, 47-48 (1991); see also Crowe v. Smith,

 261 F.3d 558, 563 (5th Cir. 2001); Batson v. Neal Spelce Assoc., 805 F.2d 546, 550 (5th Cir. 1986)

 (“[F]ederal courts possess inherent power to assess attorney's fees and litigation costs when the

 losing party has acted in bad faith, vexatiously, wantonly or for oppressive reasons.”) (quoting

 F.D. Rich Co. v. United States ex rel. Industrial Lumber, 417 U.S. 116, 129 (1974)); see also

 SIPCO LLC v. Amazon.com, Inc., No. 2:08-CV-359-JRG, 2013 U.S. Dist. LEXIS 137518, at *8

 (E.D. Tex. Sept. 25, 2013).

        A party’s post-settlement actions reneging on a binding settlement agreement and frivolous

 defense to enforcement constitutes bad faith and warrants attorneys’ fees incurred by the opposing

 party. Procaccino v. Jeansonne, No. 17-4748, 2017 U.S. Dist. LEXIS 213149, at *12-13 (E.D.

 La. Dec. 23, 2017) (“The only issue is whether the defendants’ conduct amounts to bad faith. The

 Court finds that the defendants inexplicably reneged on a binding settlement agreement and then

 unnecessarily multiplied proceedings by opposing enforcement of the settlement agreement with

 no factual predicate in support of their opposition….The appropriate sanction is to compensate the

 plaintiff for the attorneys’ fees she was forced to incur as a result of defendant’s’ misconduct in

 obstructing the settlement and multiplying proceedings.”); see also Saeed v. Kamboj, No. 17-

 13427, 2019 U.S. Dist. LEXIS 132761, at *26 (E.D. La. June 21, 2019) (Defendant’s failure to

 comply with settlement agreement based on meritless argument constitutes bad faith warranting

 an award of attorneys’ fees to Plaintiff); Travelers Indem. Co. v. Superior Constr., Inc., Civil

 Action No. 87-7449, 1989 U.S. Dist. LEXIS 15221, at *5-6 (E.D. Pa Dec. 18, 1989) (“[Defendant]

 is liable to plaintiff for reasonable costs and attorneys’ fees incurred due to his bad faith behavior

 in refusing to honor the settlement reached in this matter.”); Hoey v. Sunrise Senior Living Mgmt.,



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 No. 11-CV-13740, 2013 U.S. Dist. LEXIS 27480, at *8 (E.D. Mich. Feb. 28, 2013) (“Plaintiff

 should not be required to bear the burden of paying attorney fees for Defendant's failure to comply

 with the settlement agreement. The consequences of Defendant's belief that the terms would later

 be included should be borne by Defendant alone. In order to restore Plaintiff to the same position

 as she would have been if Defendant had complied with the settlement agreement, the Court will

 award the costs and fees of bringing and defending this motion.”)

 IV.    ARGUMENT

        BI Science needlessly drove up Luminati’s costs and deprived Luminati of the benefit of

 its bargain by refusing to perform under the Settlement Agreement or even admit the validity of

 that agreement. Defendant’s opposition to the Motion to Enforce and subsequent defenses of force

 majeure and impossibility were meritless and had no basis in the Settlement Agreement

                        . See Dkt. 183 at 34:23-35:18; see also Ex. G at 2 (e.g.

                                                                                   ). BI Science’s

 actions were particularly egregious as it continued to avoid even stating whether Defendant agreed

 that the Settlement Agreement was valid and enforceable or not –

                                                                                      . Dkt. 183 at

 34:15-20




                               ).

        BI Science’s post-settlement actions could only have been taken in bad faith justifying the

 Court exercising its inherent authority to grant attorneys’ fees. Chambers v. NASCO, Inc., 501

 U.S. 32, 47-48; see also Crowe v. Smith, 261 F.3d 558, 563. This was even worse than the



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 defendant in Procaccino, where the defendant reneged on the settlement a day after agreement, as

 BI Science knew that Luminati relied upon the Settlement Agreement and continued to incur costs

 as a result of BI Science’s obstruction and delay in performance. Procaccino v. Jeansonne, 2017

 U.S. Dist. LEXIS 213149, at *12-13. As in Procaccino, BI Science’s post-settlement actions were

 taken in bad faith. Id.; see also Saeed v. Kamboj, No. 17-13427, 2019 U.S. Dist. LEXIS 132761,

 at *26; Travelers Indem. Co. v. Superior Constr., Inc., 1989 U.S. Dist. LEXIS 15221, at *5-6;

 Hoey v. Sunrise Senior Living Mgmt., 2013 U.S. Dist. LEXIS 27480, at *8.

        Following the February 23, 2020 Settlement, BI Science refused to

                and attempted to use this as leverage in an attempt to renegotiate terms more

 favorable to BI Science. BI Science also filed countercomplaints that




                                . Given BI Science’s agreement to the Settlement Agreement, BI

 Science                                                     none of the above actions could have

 been taken in good faith. Furthermore,                                                     to file

 dismissals of those actions including the countercomplaints, and against BI Science has refused to

 comply, forcing Luminati to file the motions as opposed despite never objecting to them during

 the pendency of the arbitration.

        In order to enforce the terms of the Settlement Agreement, Luminati was forced to file a

 motion to enforce the Settlement Agreement (Dkt. 171) to                                         ,

 and

                                                                                             . As

 Arbitrator Cornelius has now determined that an award of attorneys’ fees are outside the scope of



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 arbitration (Ex. G at 1), Luminati is free to seek relief from this Court. Schlobohm v. Pepperidge

 Farm, Inc., 806 F.2d 578, 580-581. Radiant Sys. v. Am. Scheduling, Inc., Civil Action No. 3:04-

 CV-2597-P, at *5-7. In enforcing the Arbitration Award, Luminati respectfully requests its

 attorneys’ fees and costs incurred in response to the above post-settlement activity, including fees

 it continues to incur as BI Science continues to refuse to comply and repeatedly breaches the

 Settlement Agreement including as set forth in the Arbitration Award.

 V.     CONCLUSION

        For the reasons provided above, Plaintiff respectfully requests that the Court grant

 Luminati its post-settlement attorneys’ fees and costs incurred in BI Science I,

                                      including in response to BI Science’s (a) refusal to admit the

 Settlement Agreement valid and enforceable in BI Science I,




  Dated: May 1, 2020                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served this 1st day of May 2020, with a copy of this document via electronic

 mail.


                                              /s/ Korula T. Cherian




                              CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that the counsels for the parties have complied with Local

 Rule CV-7(h). Counsel participating on the May 1, 2020 meet and confer included: Robert

 Harkins, Ron Wielkopolski, Mark Mann and Calvin Capshaw on behalf of Plaintiff; Eric Findlay

 and Debby Gunter on behalf of Defendant. Defendant opposes this motion.


                                              /s/ Korula T. Cherian



              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         I hereby certify that the foregoing document is being filed under seal pursuant to the
 Protective Order entered in this matter.



                                              /s/ Korula T. Cherian




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